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                               UNITED STATES DISTRICT COURT

                                       DISTRICT OF OREGON



UNITED STATES OF AMERICA                                   Case No.: 3:20−cr−00464−SI
   Plaintiff,

v.                                                         CRIMINAL TRIAL
                                                           MANAGEMENT ORDER
PHILLIP JOHN WENZEL
   Defendant.


I.     General Directions

    The parties shall electronically file the documents described below using the District Court's
CM/ECF system, except where otherwise indicated in this Order. Trial exhibits and witness
disability statements should not be electronically filed. Other than copies of the actual trial
exhibits, each filed document should be separately and clearly captioned. Different documents
may not be combined together. The parties shall also deliver a Judge's paper copy of each filed
document to the Clerk's Office within three days after electronic filing. The Judge's paper copies
should be doubled sided and three−hole punched. When documents are also required by this
Order to be sent to the Court by email attachment, they should be submitted in Word format and
transmitted by email to:

                  Courtroom Deputy Mary Austad
                  Telephone: 503−326−8034
                  Email: mary_austad@ord.uscourts.gov


Any questions may also be directed to the Courtroom Deputy. No late filings of, or
supplemental filings to, any of the trial documents listed below will be accepted without
good cause shown.

II.        Motion to Continue Trial Date

    A rescheduling request to postpone the trial should be made in writing at least two weeks
before the trial date. Within the motion to continue, the moving party shall state whether the
Defendant agrees with or opposes the request and whether opposing counsel agrees with or
opposes the request.

III.   Trial Documents Due from Each Party 14 Days Before Trial (or 14 Days Before
Pretrial Conference, If A Pretrial Conference Has Been Scheduled)

      A.      Trial memoranda (all parties).

      B.      Motions in limine (all parties).

      C.      Requested jury instructions (all parties).

    In addition to the CM/ECF−filed requested jury instructions and the Judge's paper copy, all
parties shall email a copy of their requested jury instructions as an attachment in Word format to
the Courtroom Deputy at the email address above.
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    D.     Proposed voir dire questions (all parties).

    E.    Trial exhibit list (all parties).

     In addition to the CM/ECF−filed trial exhibit list and the Judge's paper copy, all parties shall
email a copy of their trial exhibit list as an attachment in Word format to the Courtroom Deputy
at the email address above.

    F.    Trial exhibit notebooks (all parties).

    For all trial exhibits for which paper copies can be made, all parties shall deliver to the
Clerk's Office, but shall not electronically file, a Judge"s paper copy of such trial exhibits,
three−hole punched and placed into labeled three−ring binders with numerical side index tabs for
each exhibit. All staples and clips must be removed. At the time that the Judge's copy of trial
exhibits is delivered, counsel must also provide a similarly prepared copy to opposing counsel.
Original exhibits shall be submitted at the time of trial.

    G.     Expert witness list and narrative summaries of ay expert testimony (all parties).

    H.     Requested verdict form (all parties).

    I.    A complete witness list (government only).

IV.    Additional Trial Documents Due from Each Party 7 Days Before Trial (or 7 Days
Before Pretrial Conference, If A Pretrial Conference Has Been Scheduled)

    A.     Any responses or objections to any trial document listed above (all parties).

    B.    Statement of witnesses or others with disabilities (all parties).

    The parties shall not electronically file but shall deliver to each other and to the Clerk's
Office a designation of all witnesses, parties, counsel, or others who will be present at trial and
who may need accommodation for any disability. Please be specific in your description of the
accommodation that may be needed.

IT IS SO ORDERED.


    DATED this 6th day of October, 2020              /s/Michael H. Simon

                                                     Honorable Michael H. Simon
                                                     United States District Judge.
